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 8   Department of Managed Health Care and the
     California Department of Managed Health Care
 9

10                            IN THE UNITED STATES DISTRICT COURT

11                        FOR THE NORTHERN DISTRICT OF CALIFORNIA

12                                          OAKLAND DIVISION

13

14
     GRACE SMITH and RUSSELL                                   4:21-cv-07872-HSG
15   RAWLINGS, on behalf of themselves and
     all others similarly situated, and                        DECLARATION OF SARAH REAM IN
16   CALIFORNIA FOUNDATION FOR                                 SUPPORT OF DEFENDANTS DMHC
     INDEPENDENT LIVING CENTERS, a                             AND DIRECTOR WATANABE’S
17   California nonprofit corporation,                         MOTION TO DISMISS FIRST
                                                               AMENDED COMPLAINT
18                                           Plaintiffs,
                                                               Date: April 28, 2022
19                 v.                                          Time: 2:00 pm
                                                               Dept: Courtroom 2, 4th Floor
20                                                             Judge: The Honorable Haywood S. Gilliam, Jr.
     MARY WATANABE, in her capacity as
21   Director of the California Department of
     Managed Health Care; CALIFORNIA
22   DEPARTMENT OF MANAGED HEALTH
     CARE; and KAISER FOUNDATION
23   HEALTH PLAN, INC.,

24                                        Defendants.

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                                                           1
         Declaration of Sarah Ream in Support of Def.’s DMHC and Director Watanabe’s Motion to Dismiss (4:21-cv-
                                                                                                   07872-HSG)
      Case 4:21-cv-07872-HSG Document 34-2 Filed 02/04/22 Page 2 of 2



 1         I, SARAH REAM, declare as follows:

 2         1.    I am Chief Counsel of the California Department of Managed Health Care (DMHC).

 3   My responsibilities include advising the DMHC’s executives regarding the law applicable to the

 4   DMHC and its operations, as well as the law applicable to the health plans the DMHC regulates. I

 5   also oversee the work of the DMHC’s Office of Legal Services, which serves as in-house counsel

 6   to the DMHC. I have held my current position since December 2019. Through my

 7   responsibilities, I have become familiar with the financing of the DMHC’s operations. I provide

 8   this declaration in support of defendants DMHC and DMHC Director Watanabe’s Motion to

 9   Dismiss Plaintiffs’ First Amended Complaint.

10         2.    I have personal knowledge of the matters stated herein, and could, if called upon,

11   testify competently as to these matters.

12         3.    DMHC does not receive any federal financial assistance, including any credits,

13   subsidies, or contracts of insurance.

14         I declare under penalty of perjury that the foregoing is true and correct. Executed on this

15   4th day of February, 2022, in Sacramento, California.

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18                                                                  SARAH REAM
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          Declaration of Sarah Ream in Support of Def.’s DMHC and Director Watanabe’s Motion to Dismiss (4:21-cv-
                                                                                                    07872-HSG)
